                                                                  CLENK'S OFFICE U.S.DISm ICT COURT
                                                                          AT ABINGDON,VA
                                                                               FILED

                                                                            MAt 15 2212
                                                                                           >
                     IN TIIE UNITED STATES DISTRICT COURT                 JULIA .DUDLEY,CLERK
                    FOR THE W ESTERN DISTRICT OF W RGINIA
                               ABINGDON DIW SION                          BYl
                                                                                DEPUTY CLERK


IJMTEDSTATESoFAMERI/A                    )        CriminalNumber:l.îqc.q aa
                                         )
                                         )        In V iolation of:
                                         )
W AQAR UL-HASSAN                         )        18U.S.C.j 1001(FalseStatem ents
                                         )        InvolvingInternationalTerrorism)
                                         )

                                 IN D lC T M E N T
TlieGrandJury chazges,atal1tim esm aterialtothislndictm ent:

                                      lntroduction

             The defendant,W AQAR IJL-HASSAN,isaPaldstaninationaland anaturalized
United Statescitizen. UL-HASSAN hasretained hisPnkistanicitizenship.

                           The Islam ic State ofIraq and al-sham

             On oraboptOctober15,2004,theUnited StatesSecretary ofState designated a1-

Qaeda in lraq (çW Ql''),then known as Jnm &atalTawid wa'al-lnhid,asa Foreign Terrorist
Orgnnization ($TTO'') tmder Section 219 ofthe lmmigration and Nationality Act and as a
SpeciallyDesignatedGlobalTerroristentitytmdersection 1(b)ofExecutiveorder13224. On or
aboutM ay 15,2014,the Secretary ofStateamended thedesignation ofAQ1asatlFTO tmder
Section 219 of the'Imm igTation and N ationalify Act and as a Specially Designated Global

Terroristentitytmdersection 1(b)ofExecutiveOrder13224to addth:aliasIslnmicStateoflraq
and theLevqnt(tçISIL'')asitsprimary nnme.The Secretary ofState also added the following
aliasestotheFTO listing:TheIslnmicStateofIraqand al-shnm ($çIS1S''- whichishow theFTO
               Rx                             .



willbereferenced herein),TheIslamicStateofIraq and Syria,ad-Dawlaal-lslnmiyyat'ial-lraq
U SA O-2019R00177
     k
Case 1:19-cr-00022-JPJ-PMS Document 11 Filed 05/15/19 Page 1 of 4 Pageid#: 27
wa-sh-sham,Daesh,Dawla alIslnmiyaoand Al-Flzrquan Establishmentfor M edia Production.

On September21,2015,theSecretaryaddedthefollowlngaliasestotheF'TO listing:Ijlamlc
Stateand ISIS. To date,ISIS rem ainsadesignated FTO.

         3.     Beginning in 2014,using socialm edia,ISIS hascalled forattacks againstcitizens

-   civilian and m ilitary - ofthe countriepparticipating in the United States-led coalition âgainst

ISIS. For instance, on September 21, 2014, ISIS released a speech of Abu M uham m ed
                                                ,




Al-Adnnni,aformerseniorleaderand officialspokesman ofISIS,who isnow deceased. ln this

speech,entitled,GllndeedYottriordisEverW atchfllly''AI-AM Y callsonM uslimswhosuppot't
ISIS from arolmd theworld to Gidefend the IslnmicState''and to (Grise and defend yourstate âom

yourplace whereyou m ay be.'' M ore recently,using socialm edia,ISIS hasbeen encotlraging

individualsto killspecifk personswithin theUnited States.

                                       Jaish-e-M oham m ad

         4.       On oraboutDecember26,2001,theUnited States Secretary ofState designated

Jaish-e-Mohnmmed(JeM)asaForeignTen-oristOrgnnization (GTTO'')underSection219ofthe
Imm l
    'gration and Nationaility Act. JeM isan Islamicextremistgroup baled in Paldstan thatwas

founded in erly 2000 by M asood Azhar,a former senior leaderofHarakatul-Ansar,upon lnis

release from pdson in India. The group's aim is to unite Kashmir with Pnkistan,and ithas

openly declared wa.
                  ragainsttheUrlited States. Itispolitically aligned with the radicalpolitical
                             '
            .
party JnmlatUlema-i-lslnm'sFazlurRehman faction (JUI-F). Paldstan outlaw ed JeM in 2002.
By 2003,JeM had splintered into Khuddam ul-lslnm (KUI),headed by Azhar,and Jamaat

ul-Flzrqan (.
            JUF),1edbyAbdulJabbat,whowasreleasedf'
                                                 rom Paldstanicustodyin Atzgust2004.
    Paldstan bnnned KUlandJUF in November2003.



U SA O-2019R00177
Case 1:19-cr-00022-JPJ-PMS Document 11 Filed 05/15/19 Page 2 of 4 Pageid#: 28
              JeM hasconthmed to operateopenly in parts ofPalcistan despitebeing bnnned by

the Pakistani governm ent. Since 2000,JèM has conducted m any fatalterrorist attacks.JeM

claim ed responsibility forseveralsuicide cazbom bingsin Kashm ir,including an October2001

suicide attack on the Jnmmu and Kashmirlegislative assembly building in S. rinagarthatkilled

m ore than 30 people. In July 2004,Paldstani authorities r ested a JeM m em ber wanted in

connection with the2002 abduction alzdmlzrderofU.S.jotumalistDnnielPearl. In 2006,JeM
claimed responsibility for a nllmber of attacks,including the ldlling of several Indian police

offkialsin theIndian-administered Kashm ircapitalofSrinagar.

                                       C O UN T ON E
                             (FalseStatementsInvolvingTerrorism)
                                       18U.S.C.j 1001
       6.     'Fhe allegationssetforth in paragraphs 1 through 5 are incorporated by reference

asiffully setforth herein.

              On oraboutM ay 20,2015,witllin the W estem DisttictofVirginiaand elsewhere,

the defendant,W AQAR UL-HASSAN,in a matter within the jurisdiction of the executive
branch ofthe Governm entofthe United States,lcnowingly and willfully made m aterially false,

fctitious,and fraudulent statements and representations,to wit,ilis statem entsto agents ofthe

FederalBtlreau oflnvestigation,who were conducting an intem ational-terrorism investigation,

thathe did notsupportany terroristgroups or extrem ists,and did notlcnow anyone who w asa

memberofaterroristorextremistgroup.

              Theoffenseinvolved intem ationalterrorism .

       AIIinviolation ofTitle18,United StatesCode,Sections1001(a)(2).




USAO-201911 0177
Case 1:19-cr-00022-JPJ-PMS Document 11 Filed 05/15/19 Page 3 of 4 Pageid#: 29
'

                              l
                              i
                              I
                              l
                              l
                              l
                              I
                              j             CO UNT TW O
                              1 (FalseStatementsInvolvingTenbrism)
                              l
                                            18 U S.C.5 1001
                            l
           9.     Theallegatjonssetforthinparagraphs1tluough5areincorporatedbyreference
                             l
                             I
    asiff'ullysetforthherein.?
                             l
                              l
           10. On or abojtOctober 16,2015,within the Western DistrictofVirginia and
                           l
    elsewhere,the defendantl
                           !W AQAR UL-HASSAN,in amatterwithin thejurisdiction ofthe
                              I
    executive branch ofthelGovernmentofthe United Statessknowingly alld willfully made
                              1
    materiàlly false,fictitious,1
                                pnd fraudulentstatementsand representations,to wit,lAisstatem entsto
                              !
                              I                                    .
    agents ofthe FederalBtlrjau oflnvestigation,who wereconducting an intem ational-terrorism
                            l
                            j                                        .
    investigation,thathe'
                        '
                        neveitried to send m oney to Syria forISIS and thathe neverasked anyone
                              l
                              !
    aboutsendingmoneytoISJS.
                             l
           11.    The offensqlinvolveàinternationaltenorism   .


                              i
           AIlinviolation ofl
                            Title18,United StatesCode,Sections1001(a)(2).
                              l
                              l
                              f
                              l
                              l
                      .K
                              l
                              ,
    A TRIJE BILL this 5 da'
                     1    yofM ay, 201
                                     .9
                             I
                             l                                         ys/yoreperson
                             l
                             i                                         FOREPERSON
                             l
                              i

THOM AS T.CULL    t
UNITED STATES ATTORNEY
                  l




U SA O-2019R00177

    Case 1:19-cr-00022-JPJ-PMS Document 11 Filed 05/15/19 Page 4 of 4 Pageid#: 30
